Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 1 of 20



                                                                                               21 (Pages 81 to 84)
                                                           Page 81                                                       Page 83
       1   because Agusto, the English barrier was a little bit       1        A He doesn't want to hear about the iris
       2   hard for him, so ...                                       2   and the thing or someone would be fired. He doesn't
       3         Q  So Rolando, Agusto and Eddie would                3   want to hear what's going to be played. It's what I
       4   attend those meetings?                                     4   said was going to be played.
       5        A Yes, sir.                                           5        Q When you said, "I said was going to be
       6         Q   During the time that you were there?             6   played," are you talking about yourself or Manny?
       7         A Yes, and Ricky.                                    7        A The techno, you know, the--
       8         Q   And Ricky?                                       8        Q Are you talking about yourself or Manny?
       9         A   Yes.                                             9         A No, myself, you know, or whoever was
     10          Q   Who is Ricky?                                   10   shift manager, this is what's going to work and that's
     11          A   Ricky is the daytime manager.                   11   what they had to play because I wasn't the over
     12         Q    And yourself?                                   12   authority of these guys, Eddie was. Eddie made the
                                                                                                                                   I
     13          A Yes.                                              l3   decisions and that's what I fol/owed, chain of
     14         Q    Okay. So during the weekly management           14   command.
     15    meetings, it would be five of you?                        15       Q At the staff meetings, those were
     16         A Yes.                                               16   meetings attended by the dancers?
     17         Q Anyone else besides the five managers?             17       A No.
     18         A There was a bar-back in there, but he              18       Q Who attended the staff meetings?
     19    never attended the actual meeting.                        19       A Staff, aI/ the staff. Bartenders, you
     20         Q    Okay.                                           20   know, they called a special meeting for the whole
     21          A   He was, you know, I just seen him doing         21   staff.
     22    his stock thing while the meeting was going on.           22          Q Okay. But that did not include the DJs,
     23          Q At these weekly management meetings, did          23   the staff meeting?
     24    Manny's name ever come up?                                24          A Everybody. Staff, OJs, everybody, yeah.
     25          A Like I said, anything would be brought            25          Q So there were meetings just of DJs,

                                                          Page 82                                                        Page 84
      1    back to Manny. If any suggestions, we would have to -      1   correct?
      2    Eddie would have to clear it with Manny .                  2        A Managers.
      3         Q Would the managers at this meeting talk             3        Q     There were meetings just of manageFS,
      4    about club issues?                                         4   correct?
      5         A Every time -- That what the manager's               5        A Yes, sir.
      6    meeting was for.                                           6        Q And then there were staff meetings,
      7         Q   Okay.                                             7   which included DJs, bartenders and anyone else?
      8          A Issues, problems, how to solve the                 8        A Managers.
      9    problems, daily, could we get this done. And Eddie         9        Q Okay.
     10    said he would bring it back to Manny, the owner, let      10        A Bar-backs, security, I guess you call
     11    me clear it and then we can move forward on that issue    11   them.
     12    and it took lorever. Everything took forever to get       12        Q Did you ever attend a OJ meeting?

     13    accomplished.                                             13        A Yes, I was.
     14        Q Do you know whether or not there were               14        Q     Okay. At these OJ meetings, what, if
     15    ever meetings between DJs and managers?                   15   anything, was discussed?
     16         A Well, like I said, Eddie ran the whole             16         A About what we wanted and to make sure it
     17    show and the OJs were there, how he wanted it run and     17   was followed, and if it wasn't followed, then -
     18    that was the way it was, no ils, ands or buts.            18   because when miscommunication happens there, Eddie
     19          Q So you said that t here were manager              19   wanted to make sure it's clear how it had to be done
     20    meetings, staff meetings and OJ meetings.                 20   and it's what we said, that's what they had to follow.
                                                                     21         Q And the OJs would talk about that at
     21         A Right, because there were issues with
     22    the dancers and the OJs. Eddie wants to clear             22   their meeting?
     23    everything, what's going on, and what he wants these      23         A Some meetings we were there and just
     24    guys to do.                                               24   between Eddie and the OJs. Yeah, it's a OJ meeting.
                                                                     25         Q Okay. Oid the club ever have a
     25         Q Okay.
                              1                                                                                          ~




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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 2 of 20



                                                                                                                     22 (Pages 85 to 88)
                                                                         Page 85                                                                Page 87
             1    responsible vendor's meeting?                                         1    towards the club.
             2             A     Yes.                                                   2            a    In terms of a company hierarchy, is
             3            a      Old the DJs ever go to that?                           3    there a particular person who Is at the top of the
             4             A     No.                                                    4    Stir Crazy hierarchy?                                            I
             5            a      Okay.                                                  5                MR. MCDONALD: Objection to the form .
             6            A      They didn't serve alcohol.                             6                THE W ITNESS: The only one I know is
                                                                                                                                                              j
        \ 7               a      Okay. During the time that you worked                  7           Manny is the top.
   ~ iV      8    there, were you ever aware of a situation where Mitch                 8    BY MR. BOBER:
   ~         9    Rosario had shifts taken away from him?                               9           a     Okay.
          10              A      Yes.                                               10              A     And then Heriberto and Agusto.
          11              a      Do you know -                                      11             a      So you're saying Manny would be at the
        12                A      I don't know the whole detail, but I               12       top of company hierarchy?
        13        know he had shifts taken away from him.                           13             A      Yeah, and then Agusto and Heriberto.
        14              a        Okay. Old this happen while you were               l4             a      Would it be Eddie right below Manny
        15        working there?                                                   15        or-
        16                A      Yes, sit .                                        16              A      No, equivalent, because I don't know the
        1-7             a       Do you know who took the shifts away               17        relationship. Alii know is, you know, Eddie would
   ~t   ,18       from him                                                         18        say, "Oh . Agusto is going to cry if I overstep him
        19                A      Eddie did.                                        19        because he's the nighttime, I run the day shift, but I
        20              a       Okay. Do you know why?                             20        want to know everything that goes on."
        21                A      Whatever the discrepancy or the problem           21              a      So based on what you observed personally
        22        was, I don't know.                                               22        while you worked at Stir Crazy, Eddie and Agusto had
   ~, ~2 3             a        Okay.                                              23        similar authority?
                                                                                                                                                          II
        ~\
                        A        All I know is I came in, Mitch is not             24                    MR. MCDONALD: Objection to the form.
                  working tonight. It's usually Mitch on - you know,               25                    THE WITNESS: Yes.

                                                                         Page 86                                                              Page 88
          1      Andrew is in his place or Whatever. I really didn't                1       BY MR. BOBER:
          2      get into the real personal issues.                                 2              a     Do you know if Manny had any role during
          3            a       Okay.                                                3       t he time that you worked -
          4             A Alii know is who was DJing tonight, but                   4                    THE WITNESS: Can I make one call?
          5      I knew that shifts were taken away because he had a                5                    MR. BOBER: Sure, go ahead.
          6      dancer issue because after so many years that he took              6                    THE WITNESS: Let me just see who this
          7      it out for no reason.                                              7              is.
          8            a    In terms of the promotions at the                       8                    MR. BOBER: Let's take a break.
          9      club-                                                              9                    THE WITNESS: Excuse me for one second.
        10              A Yes.                                                     10              I apologize.
        11             a -- were those decisions regarding                         11                 (A recess was taken from 3:32 p.m. to
        12       promotions made by management?                                    12                 3:40 p.m., after which the proceedings
        13             A       Yeah, by Heriberto --                               13                 continued as follows:)
        14             Q       Okay.                                               14                 MR. BOBER: Can you repeat the last
        15             A       -- that were taken back to Manny. Manny             15             question?
        16       said they weren't on the billboard.                               16                 (The previous question was read back by
        17                     I had brought promotions, I had to take             17                the Court Reporter as above reported.)
        18       it back to Manny and if the owner said yes, we needed             18       BY MR. BOBER:
                                                                                                                                                                  ~,~ .
        19
        20
        21
                 cards to pass out, they brought that back to Manny.
                 He brought billboard back to Manny, you know, and
                 Rolando was doing all the Facebook and the whatever on
                                                                                   19
                                                                                   20
                                                                                   21
                                                                                                 a     During the time that you worked at the
                                                                                            club, do you know whether Manny or Eddie had any role
                                                                                            in building the OJ booth where Mitch worked?
                                                                                                                                                          l obj
        22
        23
                 the computer.
                      a        Whowas?
                                                                                   22
                                                                                   23
                                                                                                  A I have no idea.
                                                                                                 a Okay. can you tell me - I wantto ask                   -...e   \

                                                                                                                                                                      \\   IOn
        24            A        Rolando. He would make up the ads and               24       you about the house fee.
        25       whatever his responsibility there was as far as                   25             A Yes.                                                  i

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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 3 of 20



                                                                                                 23 (Pages 89 to 92)
                                                          Page 89                                                        Page 91
         1         Q Do you know why Mitch and other DJs had           1             MR. MCDONALD: I'm sorry, read back the
         2    to pay a house fee?                                      2         answer, please.
         3          A I never asked that question.                     3             (The previous answer was read back by
                                                                                                                                       J
         4         Q Okay.                                             4             the Court Reporter as above reported.)
         5          A I know that was part of the daily                5   BV MR. BOBER:
         6    revenue that had to be deposited in our bank. We're      6        Q So going back to what I was talking                  ;
         7    responsible for our bank. The whole revenue goes into    7   about the with the hierarchy -
         8    the bank, put in our locker, and whoever does the        8         A Yes.
         9    bookkeeping in the daytime takes care of that.           9        Q -- would you agree that the shift
        10         Q Okay.                                            10   managers report to either Agusto or Eddie?
   l-   II          A But that was part of the total revenue.         11        A A hundred percent.
        12         Q Do you know why the club was collecting          12        Q Okay. And Agusto and Eddie supervised
        13    money from the DJs as a house fee?                      13   the shift managers?
   rJ )14           A That, I don't know.                             14        A A hundred percent.
        15         Q Do you know if there was a purpose for           15        Q And would you agree that the shift
        16    that money?                                             16   managers supervise the dancers?
        17          A That, I'm not sure.                             17             MR. MCDONALD: Objection to the form.              )
        18         Q Okay. You mentioned previously your              18            THE WITNESS: A hundred percent. The
        19   duties as a manager -                                    19        dancers, the staff, the DJs, that was our
        20         A Ves.                                             20         job, make sure everything ran smooth.
        21        Q -- correct?                                       21   BV MR. BOBER:
        22           Would you agree that other managers had          22         Q Okay. During the time that M'ltch worked
        23   the same duties?                                         23   at the club-
                                                                                                                                      11\
        24        A Everybody had the same exact, whether it          24         A Yes.
        25   was daytime. Daytime was different because -- I don't    25         Q - while you were working at the club,                    I



                                                         Page 90                                                        Page 92
         1     know what went on in daytime, but I know nighttime,     1   do you know how much money he made         per week?
         2    that's what was supposed to be done. Rolando stated      2           A   I have no idea, sir.
         3
         4
         5
              to me: I know what these people want. You know, it
              was let me do my thing and I got the numbers, packed
                                                                       3
                                                                       4
                                                                                   Q
                                                                                   A
                                                                                   Q
                                                                                       Okay. Have you ever done any OJ work?
                                                                                       I have.                                        l
              out the club from a dead club --                         5               Okay.
         6           Q Okay.                                           6           A   I ran my own business.
         7            A -- you know, and all of a sudden, it's         7           Q   Okay.
         8    just like it never - we never progressed. We started     8         A I owned a club and I am partners in the
         9    going in the backward direction.                         9   Chippendales.
        10           Q WOUld you agree that Eddie, as the             10         Q But you're not -
        11    general manager, had the same duties as regular         11         A We just did a show at Renegades. I --
        12    managers and some·additional duties?                    12         Q But you're not an owner of Stir Crazy?             II
        13               MR. MCDONALD: Objection to the form.         13         A No, sir.
        14               THE WITNESS: He was the general              14         Q Okay. You were just an employ~?
        15           manager. His head, you know, was on the line     15         A Employee.
        16           and same with Agusto_                            16         Q Okay.
        17   BY MR. BOBER:                                            17         A I was hired as a manager.
        18           Q Okay. So did those two gentleman               18         Q Did you ever interview anyone for the
        19   oversee the other shift managers?                        19   position of OJ at Stir Crazy?
        20           A Everybody. They overseen the night and         20        A Ves, they've come in, the dancers, the
        21   whatever Eddie said on daytime. Whatever night,          21   DJs. Vou know you, we supervise the shift.
        22   that's what was stated to me constant.                   22        Q Okay.
        23          Q Okay.                                           23           A   What I was told who to hire and not
        24           A And I was pulled in an office and told         24   hire.
        25   that by Agusto.                                          25           Q   Who told you that?
                                              ~
                                                                                                             --...-          -    -

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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 4 of 20



                                                                                                     24 (Pages 93 to 96)


   I
                                                              Page 93                                                       Page 95
            1          A Heriberto. No black girls in the                 1    off the subject, but...
            2    nighttime because we have black girls. No fat girls,     2          Q Who reprimanded you?
            3    no -- Whatever didn't make the club to their format,     3           A Heriberto, and I'm wearing my workout
            4    and he was stern about that. Fire those girls, and I      4   gear because I just got out of the gym and got
         5       had to. I wasn't the one that hired them, but I was       5   showered and got ready for ...


   \     6
         7
         8
                 instructed to.
                       Q Do you know whether or not Stir Crazy
                 ever consulted with a lawyer or anyone else regarding
                                                                           6
                                                                           7
                                                                           8
                                                                                     Q The requirement that OJs be groomed and
                                                                               look professional, who made that rule?
                                                                                     A Heriberto. If they didn't look
         9       their pay practices?                                     9    professional, he get chewed and I get chewed.
        10             A I have no idea.                                 10          Q So you were chastised by Eddie for how
        11             Q Okay.                                           11    you were dressed or how you were groomed?
        12             A I just know I got my check --                   12          A Oh, yeah. Groomed, body odor, to the T,
        13             Q Okay.                                           13    you know.
        14             A -- every two weeks, it was.                     14          Q Well, what was Eddie mad at you about
       15              Q Would you agree that there's always a OJ        15    specifically?
       16        working on every shift?                                 16          A Because I was outside, you know. When I
       17              A Yes.                                            17    pulled up, I wore my sweats and I changed outside my
       18              Q Okay. You mentioned a rule about                18    vehicle and, you know, before I went in. I come in
       19        certain people not being In the OJ booth before,        19    crisp and fresh . No one dresses as crisp and fresh as
       20        correct?                                                20    me.
       21              A That was everybody --                           21          Q So what was be upset abo,ut?
       22              Q Okay.                                           22          A Because I was in the parking lot, you
       23              A -- or Eddie gets fired. Whoever is the          23    know, making my changes.
       24        DJ on shift, he did not want them in that DJ booth.     24          Q Oh. He didn't like that you were
       25              Q Old tlie club management have any other         25    outside in the parking lot changing?

                                                             Page 94                                                        Page 96
        1        rules or policies that OJs were required to follow?      1            A Yeah , exactly, but that's how I've done
        2              A Dress.                                           2    it for 35 years. I never wear...
        3             Q Okay. Can you tell me about that?                 3           Q As a OJ, was Mitch required to announce
        4              A Just professionally.                             4    the drink specials that the management -
        5             Q So they couldn't wear tom jeans?                  5           A Yes.
        6              A No.                                              6           Q Hold on.
        7             Q Would the club require a collar shirt?            7           A I'm sorry.
        8             A That wasn't a requirement that I heard.           8           Q That the management told him to
        9       You know, just dress professional.                        9    announce?
       10             Q Okay. A nice shirt?                              10           A Yes.
       11             A Yeah, a nice shirt.                              11           Q And was Mitch required to announce the
       12             Q Slacks?                                          12    upcoming events?
       13             A Slacks.                                          13           A Yes.
       14             Q Nice shoes?                                      14               I'm sorry, I interrupted again.
       15             A Yes, sir. You're a representative of             15         Q      That's okay.
       16       Stir Crazy, you know.                                    16         A     It's a bad habit of mine, I'm sorry.
       17             Q What about the grooming?                         17         Q     There's a telephone In the OJ booth,
       18             A Grooming, you had to be groomed, you             18    correct?
       19       know, to aT.                                             19         A     Yes.
       20                 I got reprimanded outside the club             20         Q    And what Is the purpose .- Strike that.
       21       because I don't -- I don't -- I wear thousand dollar     21             Who calls that phone?
       22       shoes. I do not drive to a club -- No one wears a        22          A Heriberto. I don't know if Manny ever
       23       uniform to a football game. I don't wear my suit to a    23    did. I know Eddie did many, many times.
       24       club; so I get reprimanded outside the club. You         24         Q Do customers call that phone?
       25       represent Stir Crazy and -- I went into -- Not getting   25          A The house line, because it's a club       7
                                                                                                         -         -             ~



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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 5 of 20



                                                                                                        2 5 (Pages 97 to 100)
                                                                Page 97                                                           Page 99
          1    phone --                                                         1         a    Okay. Would you agree that the
          2           a     Right.                                              2    management controlled the ambiance of the club?
          3            A -- you know.                                           3         A Repeat that, J'm sorry.
          4           a     So If a customer Is lost and looking for            4         a   Sure.
          5    the club and wants to call the club, that phone will             5            A club, certain clubs - Would you agree
          6   ring in the OJ booth?                                             6   that certain clubs are trying to achieve a certain
          7            A Yes.                                                   7    mood Inside?
          8           a     And the OJs are required to take those              8         A Yes.
          9   calls?                                                            9         a   And the mood is set by the lighting and
      10               A Those calls and give them directions or            10      the way the furniture Is laid out, correct?
      11      whatever is needed over the phone. If it's a manager,         11               MR. MCDONALD: Objection to the form .
      12      if it's a girl working, is a ...                              12      BY MR. BOBER:
      13              a    So OJs - Strike that.                            13            a   Well, would you agree that the
      14                  Managers would call the OJ house phone?           14      management at Stir Crazy wanted to create a certain
     15               A Yeah, to see - to get messages, say                15       kind of mood In the club?
     16       people don't answer their cell phones.                       16             A Yes.
     17               a    Okay.                                           17             a   Okay. And can you tell me the mood that
     18               A You know, Mitch, get this message to               18       the club management was trying to create during the
     19       whoever, and then Mitch would get on the loudspeaker         19       time that you worked there?
     20       and call whoever to the OJ booth whoever the message         20             A Okay. Wanted a smoky-filled room, which
     21       is for.                                                      21       Mitch had control of the smoke machine, was neon, red,
     22               a    But the house phone In the OJ booth was         22       high energy, you know. When I -- That's what the
     23       a phone that was the public phone number of Stir             23       objective was, to create high energy and make it fun,
     24       Crazy, correct?                                              24       and to do that, you had to have a little bit more
     25               A Correct. His job was to answer that                25       energetic lighting, meaning red, more reds, more
                                                                                                                                              I

                                                                Pag e 98                                                        Page 1 00

      1       phone of whoever was calling in.                              1       whites, opposed to a dull, dark room. I kept on Mitch
      2               a  So a vendor might call that phone?                 2       and the other OJs about the lighting and, you know,
      3               A Oh, everybody would call that phone. I              3       selling the alcohol drinks and what have you, to push
      4       don't know exactly who called it, but it could be a           4       it and push it and push it, you know, and it worked.     II
      5       manager, a girl coming in late. He would call the OJ          5            a     You mentioned earlier that you had asked
      6       if girls were coming in late, Eddie is on the phone,          6       the club to make changes as far as how the bar was set
      7       another manager is on the phone, he is running late or        7       up.
      8       staff members, any problems.                                  8             A Yes.
      9              a   Are you aware that customers, from time            9            a    Okay. Would you agree that that's part
     10       to time, would call -                                        10       of the ambiance of the room?
     11               A Yes.                                               11             A Yes, a hundred percent.
     12              a -   the house phone?                                12            a    Okay. And would you agree that the
     13               A It's a direct line to outside.                     13       ambiance of the club is set by the management, not the
     14              a   Okay.                                             14       DJs?
     15              A     When you call Stir Crazy, it goes right         15             A Yes. And I asked about the remodel,
     16       to his ...                                                   16       they said no.
     17              aOkay. Oid the club have house rules for              17            a  Do you know how the club arrived at the
     18       the dancers?                                                 18       number ten, as in $10.00, for the house fees?
     19            A Yes.                                                  19              MR. MCDONALD: Objection to the form,
     20              a  Were those written or were they verbal?            20           mischaracterizes his testimony. He said
     21             A Verbal and written on the back. in the               21           $5.00 to the bouncer - to the DJs, and now,
     22       locker room.                                                 22           once again, you're trying to put words in his
     23              a  On the wall?                                       23           mouth .
     24             A On the wall, yes. At least I know when               24                 MR. BOBER: Okay.
     25       I was there, they were posted.                               25                 THE WITNESS: It used to be years ago -


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        Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 6 of 20




                                                                                                                26 (Pages 1 0 1 to 104 )
                                                                            Page 10 1                                                            Page 103
           r-
                 1                   getting eft the subject - where the--elub           1           A   And you gonna violate, fired on site.
                                                                                                     o
    ,r..         2
                 3
                 4
                               used to pay the dancers . Michael Peters -
                               not getting off the subject - brought this
                               th ing called house fee and --
                                                                                         2
                                                                                         3
                                                                                         4
                                                                                                         Would you agree that all behavior that
                                                                                             is permissible or not permissible in the club Is set
                                                                                             by management?
C~               5   BY MR. BOBER:                                                       5           A   A hundred percent.
                 6             Q     Who is Michael Peter?                               6        a      You would agree that the DJs are not
                 7             A     Michael J. Peters, it's a different                 7   management, correct?

    ~
                 8    organization. That's who came up with the idea and                 8           A   Correct.
"                9    ev erYbody followed suit.                                          9        a      Would you agree that during the time
                                                                                        10   that you worked there decisions regarding advertising
            1~1 0              Q     Of?
                11             A     Of the house fee , as opposed to paying            11   were decisions of management?
                12    the entertainers and the OJs and so forth . I think               12           A   A hundred percent. Ownership and
                13    everybody should be compensated --                                13   Heriberto.
                14             Q    Okay.                                               14        a      When you say, "ownership", you mean
                15             A    -- and go back the way it was and it                15   Manny?
                16    wi ll be.                                                         16       A Manny. We had no say in that. We could
           '-
                17             Q    You stated earlier that the dancers paid            17   bring an idea, but they have to clear it. Any money
                18    a $10.00 house fee.                                               18   out of his pocket is going to be right through Manny.
                19             A     Yes.                                               19   It's his money.
                20                  MR. BOBER: See.                                     20        a      Would you agree that the hours that the
                21   BY MR. BOBER:                                                      21   club were open and closed were set by management?
                22             Q    And that was required by the club,                  22           A   Yes.
                23   correct?                                                           23        a   Would you agree that the cleanliness of              I
                24             A     Yes. If they didn't make no money, they            24   the club was decided by management?
                25   gave them $5.00, or that was the ...                               25           A   Oh, yes.

                                                                           Page 1 02                                                           Page 10 4
                 1         a       The $10.00 number, do you know how the                1           a   Can you give me any examples of that?
                 2   club came up with that number, if at all?                           2           A    Cleaning up, sweeping up, the bouncers
                 3         A I have no idea.                                             3   and Agusto would oversee that. Eddie would come in
                 4         0 Okay.                                                       4   sometimes because it wasn't done because Agusto had
                 5         A Everybody has their different format,                       5   released me earlier and Eddie wou ld go off about how
                 6   some higher, some lower, you know. What their madness               6   the club wasn't clean and he was going to start fi ring
                 7   was at the time, I have no idea, when they came with                7   people.                                                   \
                 8   this house fee thing.                                               8        o      Would you agree that the sale of alcohol
                 9         0       When the girls, dancers, were being                   9   is essential to the successful operation of a strip
                10   paid, that happened before you worked at the club,                 10   club like Stir Crazy?                                           \
                11   right?                                                             11            MR. MCDONALD: Objection to the form.
                12         A We pay them on the road all time. Our                      12               THE WITNESS: Every operations on
                13   road show, every dancer gets a hundred dollar shift                13           400 percent on an alcohol bottle you're
                14   pay, not have to pay like a slave to the club.                     14           making. That is your main thing, is alcohol.
                15         0       Okay.                                                15   BY MR. BOBER:
                16         A       You're a slave, you're a slave labor.                16        a      Is it your position that the main
                17   That's what they've got at brothels.                               17   profItability of an exotic dance club like Stir Crazy
                18         0       In terms of the length of each shift and             18   was the alcohol sales?
                19   the number of hours in each shift, that's set by                   19        A      Private rooms, lap dances, house fees,
                20   management, correct?                                               20   you know, numerous things, valet, you know. You l ave
                21         A       Yes.                                                 21   different forms of operation, you know.
                22         0       In terms of the acceptable behavior that             22        a      Are OJs involved in the sale or                    .--
                23   was permitted In the club by anyone, including DJs,                23   promotion of alcohoi sales at the club?
                24   would you agree that that is something set by                      24        A      Announcing; so that's responsible, you             II
                25   management at the club?                                            25   know.
                                                                                                          -
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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 7 of 20



                                                                              27   (Page 105)
                                                     Page 105
      1         Q But OJs are not involved in actually
      2   selling the alcohol?
      3        A   Not whatsoever.
      4        Q   Just promoting it?
      5            Promoting it.
      6             If a club like Stir Crazy did not serve
          alco 0 , do you have any opinion on whether It would
          affect the profitability?
               A   A hundred percent.
               Q   Do you think it would go down?
               A   A hundred percent.
                   MR. BOBER: I don't have any other
               questions.
                  THE WITNESS: Okay.
                  (The continuation of the proceedings are
                  contained in Volume 11.)




     24
     25




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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 8 of 20



                                                                                                      1 (Pages 106 to 109)
                                                          Page 1 06                                                            Page 108
                      UNITED STATES DISTRICT COURT                     1           (The proceedings continued as fo llows:)
                      SOUTHERN DISTRICT OF FLORIDA                                                                                                 i
                                                                       2              CROSS-EXAMINATION
                     CASE NO.: 13-CV-23429-Ungaro                      3   BY MR. MCDONALD:
                                                                       4             Q All right. I have some questions for
          MITCHELL ROSARIO,                                            5    you.
                  Plaintiff,
                                                                       6            My name is David McDonald. I represerit
          vs.                                                          7    the Defendants.
                                                                       8            Your name is Cesar Sayoc?
          12425, INC., a Florida for-profit corporation                9             A     Yes, sir.
          d/b/a STIR CRAZY, LAURA INSUA, MANUEL INSUA,
          and HERIBERTO FLOREZ,                                       10             Q     5-A-Y-O-C?
                                                                      11             A     Yes, sir.
                  Defendants.                                         12             Q     What is the middle name?
                                                                      13             A     Altieri.
                    DEPOSITION OF CESAR ALTIERI SAYOC
                         VOLUME"                                      14             Q     What is your date of birth?
                        PAGES 106 - 239                               15             A     3-17-62.
                                                                      16             Q     Are you Irish?
                        Tuesday, April 8, 201 4
                                                                      17             A     What is that?
                        2:10 p.m. - 5:49 p.m.
                                                                      18             Q Are you Irish?

                        Bober & Bober, P.A.
                                                                      19          A Native American, Italian, Philippines.                             t>\ r
                                                                      20    If you --
                        1930 Tyler Street
                       Hollywood, Florida 33020
                                                                      21             Q     Born on Saint Patrick's Day?                                0 b~~ _
                                                                      22          A Yeah . If you look at my grandfather,                      II           ..j)
                                                                      23   the great Baltazar Sayoc, there over through the                                R
                                                                      24   communist party in the Philippine Islands, he built
                                                                      25   all the hospitals in the Philippine Islands. First                  I       \
     ~--------------------------+-------------------------~I~
                                                          Page 1 07                                                           Page 1 09
      1   APPEARANCES:                                                 1   plastic surgeon - and not ge.ttin~ off the subject - in
      2   On behalf of the Plaintiff:                                  2   New York City Hospital to perfect an oriental eye to
      3     PETER J . BOBER, ESQUIRE
            BOBER & BOBER, P.A.
                                                                       3   Americanize. If you Google Sayoc, you will see it all
                                                                           OVer the world.                                                     II
      4     1930 Tyler Street
            Hollywood, Florida 33020
                                                                       4
                                                                       5         o   The same one who overthrew the
                                                                                                                                                           r\F
      5
      6
            Phone: (954) 922-2298                                      6   government In the Philippines did that surgery in New                           o'v -
      7   On behalf of the Defendants:                                 7   York?
      8     DAVID M. MCDONALD, ESQUIRE                                 8        A   Yes, sir.                                                              (\
            MCLUSKEY & MCDONALD, P.A.                                  9         o  Wow.
      9     8821 Southwest 69th Court
                                                                      10           And can I have your address again?
            Miami, Florida 33156
     10     Phone: (305) 662-6160                                     11         A 18151 Northeast 31st Court, Apartment
     11                                                               12   2016, that is Aventura, Florida --
     12   ALSO PRESENT:                                               13         o Okay.
     13
                Mitchell Rosario                                      14         A -- 33160.
     14                                                               15         o       Does anyone live with you?
     15                         IN DEX                                16        A        My mother and father.
     16   WITNESS                     PAGE
     17   CESAR ALTIERI SAYOC
                                                                      17         o Are you a golfer?
     18              CROSS-EXAMINATION     108                        18         A Yes, sir. I love golf. I am not Lee
                     BY: MR. MCDONLAD                                 19   Trevino, but I love it because it just relaxes you --
     19                                                               20         o       Okay.
                               REDIRECT EXAMINATION        226
     20                        BY: MR. BOBER                          21        A        -- and a lot of business deals with club
     21                                                               22   owners and "m going to be - finally get a chance to
     22               EXHIB I TS                                      23   finish up veterinarian school.
     23   DEFENDANT'S
     24   No. 1 Stir Crazy Application              233
                                                                      24         o You're going Jobecome a veterinarian?
     25                                                               25         A Finally, because I was so busy with
                                                                                                            -         - -           -   . ~.



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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 9 of 20



                                                                                               2 (Pages 110 to 113)
                                                          Page 110                                                      Page 112
      1    college in North Carolina playing athletics, it was        1           Q    Okay.
      2    very hard with the finances . I took a pro contract        2           A -- that took the helm.                                       .!

      3    and..now my coach is the dean at High Point University;    3         Q What years were you in attendance         at
      4    so I'm getting into High Point University's school of      4    Brevard and UNCC?
      5    m i al and veterinary studies.                             5           A 1980 was my first year to '81. I moved
      6          Q Let's start with your educational                  6    on - I had to take a break to do constroction to pay
      7    background.                                                7    for my school with my father, tOOK a semester off and
      8         A    Yes, sir.                                        8    then went back to UNCC to complete my tfiird year of
      9         Q   It sounds like you played some college            9    college.
     10   sports -                                                   10          Q Okay.
     11          A Yes, sir.                                         11          A And then I took a pro contract overseas         ..J
     12         Q •• so you must have attended colleges.             12   in Milian, Italy and played pro sports, arena
     13          A Yes.                                              13   football.
     14         Q Where did you go?                                  14          Q Soccer again?
     15          A Brevard Junior College in North                   15         A Soccer, and then they talked me into
     16   Carolina, won a national title there. Six of us from       16   dOing arena football In Arizona and then --
     17   North Miami Beach High School, seven from a Catholic       17        Q Arena football?
          school in Orlando. We met at an all-star game !n
                                                                                                                                             !
     18                                                              18           A   Yeah.
     19   Florida and we decide in 1980 to go build the dynasty.     19           Q   American football?
     20   We were the dynasty of Florida, we broughlit to the        20           A   Yes, sir.
     21   small school, 770 students, because we didn't want to      21           a   Did you ever play American football?
     22   be in front of a TV and --                                 22           A  Yes,l did.
     23         Q I'm not trying to cut you off. She                 23           a  Prior to playing in the arena league?
     24   wants to take everything down and you do talk -            24        A Yeah , Optimus, and you know, they talke
                                                                                                                                             ,
     25         A Oh, I apologize.                                   25   me in - I was one of the most tenacious players, hard

                                                         Page 111                                                       Page 113
      1        Q    I want to make sure she's getting all             1   work, I was a workaholic. All my peers sought me out
      2   this good Information.                                      2   for advice because I was that kind of a leader that -
      3         A I'm sorry. I will speak a little bit                3         Q Okay.
      4   slower.                                                     4        A      - you know, I'm not practicing all week
      5        a    What sport are we talking about?                  5   to lose on Sunday and that's how I was.
      6         A   Soccer.                                           6        a    Okay. But you played in Milian, Italy
      7        Q    Soccer.                                           7   profeSSionally?
      8         A   Yes, sir.                                         8        A      Yeah, just briefly.
      9        a    So you went to North Miami Beach High ••          9        a      What team were you on?
     10         A   Yes, sir.                                        10         A The A.C . Milan . The four squad.
     11        Q    •• right?                                        11         Q Did you ever advance to like an all-star
     12         A   Won a few state titles there and then            12   team or anything like that?
     13   Orlando, Bishop Moore, the Catholic school there,          13         A Well, like I said, you have to be born
     14   Larry McCorkle's guys and the Winter Park guys --          14   in that system, in the European system. At 15
     15        a   Okay.                                             15   they're, you know -
     16         A -- who went to a Florida all-star game             16        a      Okay.
     17   and we built the dynasty, we decided on a small school     17         A - they're signed to play contracts. I
     18   in North Carolina.                                         18   don't know if you're familiar with that.
     19        Q All right. And it's called Brevard                  19             I came back over after that to the
     20   Junior College?                                            20   United States and played arena with Arizona and
                                                                                                                                         !
     21        A Brevard Junior College, and then I went             21   Charlotte.
     22   to UNCC, University of North Carolina at Charlotte.        22         Q So when you came back to the US, you
     23        a    Old you play soccer there?                       23   switched from soccer over to American football?
     24        A Yes, sir, under Bob Warming from Barry              24         A Yes, sir.
     25   University --                                              25        a      Had you played American football in your
                                               ._--                                                              --
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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 10 of
                                      20


                                                                                                              3 (Pages 114 to 117)
                                                                  P a ge 114                                                           Page 116
         1       past?                                                              1         A  Professional wreslling.
         2             A Yeah, I played Optimus all the way                         2         Q  Like -
         3       befo re high school.                                               3         A WWE, Vince McMahon. I was doing the
         4             Q Okay.                                                      4    Chippendale thing.
      5                A Because I went to Country Day and                          5         Q Like the Hulk?
      6          Mississippi, I played there at --                                  6         A Yeah, exactly.
      7                Q You went to Miami Country Day here -                       7         Q That's that kind of group?
      8                 A    Yes, sir.                                              8         A Yes, sir.
      9                 Q    --In Miami?                                        9             Q Eddie Sharkey, you worked with him?
     10                A My mom is one of the City Councilwomen                10             A Yes, sir.                                              I

     11          in Aventura and she finally got me in there, a                11             Q    Okay. Did you wrestle or were you just
     12          four-year wait, and she wanted the best for me.               12        part of a team?
     13                 Q     Does she know Mr. Bober?                         13            A Part of the wrestling camp. I never
     14                 AShe probably does. I mean, she's --                   14       made it big, but it was my opportunity to perceive
     15              Q Your mom is on t he City Council for                    15       something that I have never tried before.
     16          Aventura?                                                     16                I was with the Chippendales since 1982
     17                A And the number one for the Aventura                   17       booking shows, choreographing shows.
     18          Marketing Council, Madeline Giardiello.                       18            Q        What Is the Chippendales?
     19                Q Okay.                                                 19            A        Chippendales, the dance group, the male
    20                 A Yeah . She's one of the ...                           20       dance group, the Chippendales. We're the number one
    21                 Q So then you went and played American                  21       name in entertainment. Just ad a show at Renegaaes
    22           f ootball arena league professionally -                       22       last night.
    23                 A Yes.                                                  23            Q    What is Renegades?
    24
    25
                       Q You were paid, correct?
                       A Ves , sir.
                                                                               24
                                                                               25            Q
                                                                                              A   Renegades in West Palm Beach.
                                                                                                  I'm sorry, I just don't know.
                                                                                                                                                  II
                                                                 Pag e 115                                                            Page 11 7
      1              Q      What position did you play?                         1            A    Yeah, Village and--
     2              A Middle linebacker. It's so quick, you                     2            Q     And so they -
     3       just, you know ...                                                 3            A     Village and Palm Beach Lakes.
     4              Q How long did you play for - And when                      4             Q So Chippendales performed at Renegades;
     5       did you play for Arizona? What was the name of the                 5       is that right?
     6       team?                                                              6             A Yes, sir, last night.
     7              A Arizona Rattlers.                                         7             Q And Chippendales is a group that
     8             Q Rattlers. When did you play for the                        8       travels-
     9       Rattlers?                                                          9            A    Yes, sir.
    l O            A Oh, gosh, that was way back in '88, '89.                  10             Q - what, the world?
    11            Q Okay. '88, '89. How many years did you                     11             A Tours t he world. We have an
    12       play?                                                             12       International group. We have a domestic group.
    13               A      Just brief season, yeah .                          13             Q What do you do?
    14              Q       I know in football, a big issue is                 14             A I'm one of the booking agents right now
    15       concussions. Did you ever have problems with                      15             Q     0 you have an ownership interest in it?
    16       concussions                                                       16             A I'm a partner with Tony Valentine In the
    17            A No, I never had --                                         17       bookings. He owns the show, actually, but any time I
    18           Q No?                                                         1B       book a show, I get my percentage.
    19              A -- anything with that.                                   19             Q What does that mean, book a show?
    20             Q After '88, '89, any further --                            20             A Book a show. I come in, HI, Mr. Club
    21             A I got into the wrestling . I never went                   21       Owner. We have the Chlppendales, we're going to be
    22       big with it, but I was with Eddie Sharkey's camp in               22       touring through your area and we would like to see
    23       St. Paul, Minnesota. He was a six time world champion             23       what dates you have available.
    24       for Vince McMahon and they talked me --                           24            Q Okay.                                              II
    25             Q Six time world champion of what?                          25            A Who is in your charge of your
             -                                                                                    -
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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 11 of
                                      20


                                                                                                   4 (Pages 118 to 121)
                                                              Page 118                                                       Page 120
         1    entertainment director, and if you have some                1            a I'm sorry. Business, finance and
         2   available, we would like to work it out. We're coming        2     veterinary medicine?                                             I

         3   through the area on a structure, we want to make that        3            A Yeah. It's going to be a biology degree
         4   feasible where - what is your seating capacity, so           4     that will get me into the vet school.
      5      forth and so on.                                              5          a    But you will also get a business and a
      6            a   Okay. You said you started working with             6    finance degree?
      7      the Cnippendales In 1982?                                     7           A Yeah, I'm going to get -- Because that
      8             A 1982, yes, sir. I was doing that                    8     will be the master's.                                        !

      9      part-time and my own group with All American Male.           9           a    Is that like three degrees?
     10            a   And you've done that continuously?                10            A   Three degrees, yes, sir. Business and
     11            A     Yes, sir.                                       11    finance because of my own - with the bookings and the
    12                And I came back to South Florida because           12    Chippendales, and I'm going to eventually open a clup
    13       my grandparents had passed away. In 2000 my                 13    in the Midwest where I was stationedoelore my
    14       grandfather passed away, my grandmother, I would have       14    grandparents passed away here in Minnesota.
    15       never left the road.                                        15           a  I'm sorry, you said where?
    16             a    Okay. And so you've been back in South           16          A II was Minneapolis, Minnesota.
    17       Florida since 20007                                         17           a  That's where you were?                              .

    18             A 2000. I had a dry cleaning business,                18          A Yes, sir.
    19       1249 priced dry cleaning.                                   19           a    I thought you said· and I apologize, I
    20             a     Okay.                                           20    thought you said -
    21             A     I was the first one with 2.49 dry               21         A But we toured --
    22       cleaning.                                                   22           a ..
                                                                                         your grandparents passed away here in
    23             a I'm just trying to get a little more                23    Minnesota -
    24       background. So from '82, you said, with the                 24        A No, no. My grandparents --
    25       Chippendales?                                               25         a - and I just want to make sure we're In
                                                             Page 119                                                       Page 121
     1             A     Yes, sir.                                        1    the right state.
     2             a     From '82 on, and then did you ever               2          A No, no. I was on the road touring with               !
     3       obtain your degree from UNCC?                                3    the Chippendales --
     4            A No, sir. I'm going back to finish my                  4         a     Okay.
     5       undergraduate with High Point University --                  5          A -- in Ohio. In Ohio. Oklahoma City, I
     6             a  Okay.                                               6    got the news my grandfather was - I said, hang on, I
     7            A -- and continue my education. I want to               7    came back here 2000. And then 2006, my grandmother
     8       become a horse doctor and I'm a little bit more              8    was iII --
     9       intelligent today than back then .                           9         a     Okay.
    10             a    So you need to get your undergraduate            10          A -- and I swore I was never leaving the
    11       degree finished?                                            11    road and when my grandmother passed, I didn't want to
    12            A Yes, sir, I have to finish it up. I                  12    see my mom to go through that, the main reason why I      :
    13       think if s a three eight five . I was very impressed        13    came, I spent some time with my mom and family; so I'm
    14       when I seen the resume , you know, so I was just --         14    ready to go back.
    15       Because athletics, trying to do 15, 18 hours and then       15         a    Ready to go back, okay.
    16       do school is very tough, so ...                             16         A   Yeah.
    17             a     Okay. So then with your 3.85, you're            17         a   So I think we're up to about you're - I
    18       going to finish one more year.                              18    think you finished your professional football career
    19                  What is your major?                              19    and then you pursued professional wrestling at the       II
    20            A      My major is veterinary medicine.                20    same time you were running your Chippendales'
    21            a      Oh, okay. Undergraduate major is                21    business. What came next? What is on your resume of
    22       veterinary medicine?                                        22    work?
    23             A Yeah. Well , it's going to be business,             23        A  Oh, gosh. It's--
    24       finance, and then inlo medicine, which is my fam ily,       24        a  So we're about 1990, I can tell.                  II
    25       so -- Because I had my own -- Like that's --                25         A Yeah. Mostly the bookings with the
                                                                                                                                        i


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      Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 12 of
                                            20


                                                                                                             5 (Pages 122 to 125)
                                                                    Page 122                                                           Page 1 24
                1         Chippendales. I stayed on the road. I was on there          1          A Yes, sir.
                2        for 17 years of my life.                                     2          Q And you worked for him where, here?
                3              Q Okay.                                                3          A Solid Gold, Fort Lauderdale; Pure
                    4          A I love it. I miss it.                                4    Platinum ; String Fellas, New York, and that's when I
                5              Q Okay. But you said early in your                     5    was at a young age, you know.
                6        deposition ••                                                6          Q From when to when?
                7              A Yes.                                                 7          A I have it on my resume, the whole thing.
                8              Q - t hat you have a lot of experience in              8          Q Well, as best you can remember.
                9        the adult entertainment business.                            9          A Gosh, back from '82, you know, off and
               10              A Yes, sir.                                       10        on .
               11              Q I guess Chippendales might have some            11              Q Okay.
               12        connection.                                             12              A Side jobs. Solid Golds in Minneapolis.
               13              A Chippendales, Michael J. Peters, who            13        When I was in Minneapolis I worked for Bob there.
               14        taught me from a young kid with the Solid Golds, Doll   14              Q Bobwho?
               15        House, Pure Platinums. We opened the --                 15              A Bob, I forgot the last name.
               16              Q Solid Gold, Doll House, where is that?          16              Q Okay.
               17             A Solid Golds, Doll House and Pure                 17              A He was the owner of the club. It's been
               18       Plalinums of America.                                    18        awhile.
               19             Q Where is that located?                           19             Q When was this?
               20             A Solid Gold Fort Lauderdale.                      20              A '84 or five, something like that. It
               21             Q Okay.                                            21        was off and on .
               22
               23
                              A Doll House, which was Beach House
                        Cabaret, which now is not there.
                                                                                 22
                                                                                 23
                                                                                                Q
                                                                                                A
                                                                                                     Okay.
                                                                                                     Yeah.
                                                                                                                                                   II
               24             Q Where is that, Fort Lauderdale, also?            24             Q    All right. And so -
               25             A It was one where Sunny Isles is --               25             A    As I was traveling , that's when I had




p\f.   !
           r:                 Q   Okay.
                                                                   Page 123

                              A - and then the Miltons bought all that
                         property and they knocked that down and X, Y, Z.
                                  Solid Gold North Miami Beach, which was
                                                                                  1
                                                                                  2
                                                                                  3
                                                                                  4
                                                                                           because It's interesting.
                                                                                                                                      Page 125
                                                                                           time off and that's when I worked with the clubs.
                                                                                                 Q I'm going to come back to your resume,


                                                                                                    How did you get involved as a witness In

OP)- ) :                the Big Brothers Daddy, which is Dean's Gold now,
                         which was a Michael Peters' property,
                                                                                  5
                                                                                  6
                                                                                           this case? Did Mitchell call you?
                                                                                                 A Iwas--

~)    ~l 7                    Q Michael Peters is who, now?                       7                 MR. BOBER: Object to form.


~\1, .( :
                              A He was the first gentleman's club owner,          8                 THE WITNESS: What's that?
                        on the Lifestyles of the Rich and Famous, came out,       9                 MR. BOBER: I'm just putting it on the
~r:rJ'0¥S II   10
               11
                        Cornell graduate, and invented the house fee . He
                        brought county club ru les and put girls in gowns. He
                                                                                 10
                                                                                 11
                                                                                                 record, but you can answer, of course.
                                                                                                    THE WITNESS: Oh. Mitchell had asked,
               12       invented the gentleman's club. They were all strip       12              you know, to come and answer the questions
               13       clubs before Michael J. Peters .                         13              best of my knowledge.
               14             Q Is that somebody who is local here in            14       BY MR. MCDONALD:
               15       South Florida?                                           15              Q When was that?
               16             A Oh, yes.                                         16              A Two weeks ago, three weeks ago.
               17             Q Where is Michael J. Peters? Is he here           17              Q Are you guys in regular contact with
               18       in -                                                     18       each other?
               19             A He is up in Binghamton, New York right           19             A I talk to him once in a while. I
               20       now. He's semiretired.                                   20       mean --
               21            Q Okay.                                             21             Q You're friends?
               22            A   He runs the adult expo .                        22             A Well, like I said, I know him from the
               23               The reason why the gentleman's clubs are         23       club, you know. My friends are who I grew up with and    II
               24       gentleman's clubs are because of Michael J. Peters.      24       I know Mitch from the club, you know, and he asked me,   II
               25             Q Okay. And you worked for him?                    25       you know, and Just tell the truth.


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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 13 of
                                      20


                                                                                          6 (Pages 126 to 129)
                                                       Page 126                                                    Page 128
      1          Q You say your friends are who you grew up         1          Q When did you learn that Mitchell Rosario
      2    with and you know him from the club. Are you talking     2     was no longer working at Stir Crazy?
      3    about Stir Crazy or are you talking about -              3          A Three weeks ago, maybe, something like
      4          A No. I consider the club people that              4    that.
      5    I've met acquaintances.                                  5          Q Okay. How did you learn that?
      6          Q Okay.                                            6          A I just talked to him on the phone and I
      7          A My friends is what I die for --                  7    said, "How are things going?"
      B          Q Sure.                                            8              He goes, ''I'm not there anymore."
      9          A -- I went to school with , these are my          9          Q Okay. And what did he say to you?
     10    friends, you know.                                      10          A You know, basic, whatever the situation        I:
     11          Q So you know Mitchell Rosario from bef ore       11    was.
     12    Stir Crazy?                                             12          a Well, what was the situation that he
     13          A I never met him before Stir Crazy.              13    told you?
     14          Q Okay. Maybe I know misunderstood, then.         14          A It didn't work out, whatever it was.
     15             So that's where you met Mitchell               15          Q How? Why?
     16    Rosario?                                                16          A I don't know. I didn't go into detail
     17        A Yes, sir.                                         17    about it. He said he wasn't there. I don't go into a
     18        Q Okay. But then you say you talk to him            18    person's personal life and, you know, that's why I'm
     19   every couple weeks?                                      19    here today --
     20            MR. BOBER: Object to form .                     20          Q Okay.
     21            THE WITNESS: I just, you know, just             21          A -- tell exactly what went on. That's
     22        once in a while, you know, when I come back         22    it --
     23        in town or we're doing a show.                      23          Q Okay.
     24   BY MR. MCDONALD:                                         24          A -- exactly tell what went on.
     25        Q Do you guys get together and socialize?           25          Q Okay. At s ome point, though, he told

                                                       Pa ge 127                                                  Page 1 29
      1         A     No, not at all.                               1    you he is in a lawsuit?
      2         Q     Do you meet at clubs?                         2         A That's why we're here today.
      3           A No.                                             3         a But he told you that, right?
      4          Q Do you know what clubs he's working at?          4             MR. BOBER : Object to form.
      5           A I have no idea.                                 5   BY MR. MCDONALD:
      6          Q Other than Stir Crazy, do you know if            6         Q He t old you: "I am in a lawsuit I'm
      7    he's ever worked in the adult entertainment industry?    7   suing the place I used to work for" ?
      B          A I know he worked for a lengthy period of         8            MR. BOBER: Object to form .
     9     time.                                                    9   BY MR. MCDONALD:
    10           Q Where?                                          10         Q Is that right?
    11           A Stir Crazy.                                     11         A That's why we're here.
     12          Q Okay. How about any other location?             12        Q Okay. But he told you that, correct?             II
    13           A That, I don'! know.                             13         A What, that he is in a lawsuit?
    14           Q So I'm just trying to understand how it         14          Q Yes.
    15     was that he was able to find you and call you. Did      15          A He said, "Come tell the truth," that's
    16     you call him or did he call you? How did that happen?   16   what he told me, and that's what I did, come here to
    17               MR. BOBER : Object to form.                   17   tell the truth.
    18               THE WITNESS: Like I said, just had            18          Q Well, did ycu get served with a sUbpoE!na
    19           called and I'm back in town to say hello and      19   t o come here?
    20           how is everything .                               20          A He sent a letter to my house.
    21    BY MR. MCDONALD:                                         21          Q Okay. So you never actually got served
    22          Q Okay. Did you call anyone else from              22   with a subpoena compelling you to be here -
    23    Stir Crazy?                                              23          A No.
    24          A No. Really -- I really don't, you know,          24          Q •• you're here voluntarily?
    25    socialize with too many other people.                    25          A Yeah, I'm here voluntarily.
                                                  -                                        -                  -
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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 14 of
                                      20


                                                                                               7 (Pages 130 to 133)
                                                         Pag e 130                                                    Page 132
      1          Q Okay.                                              1             A   I talked to Mitch on the phone.
      2          A No one, you know -- You tell me and no             2            Q    When is the last time you physically saw
      3   problem, I will tell you the truth, whatever you want,      3    him?
      4   you know. That's what he asked me, come tell the            4             A   I saw him what, about two weeks ago, I
      5   truth. That's what I'm doing is telling the truth.          5    think.
      6         Q All right. Other than here in this                  6           Q
                                                                                  Where was that? Was it here?                                 !.
      7   room, when is the last time you saw Mitchell Rosario?       7             A
                                                                                   No, not here.
      8
                                                                                                                                               •

                 A Today                                              8         Q Where was it?
      9          Q Where today?                                       9         A At a restaurant, Big Daddy's.
     10          A Today, he drove me over here.                     10         Q What was the purpose of the meeting at
     11          Q Okay. He came and picked you up?                  11   Big Daddy's?
    12           A Yes.                                              12         A Say hello, he was in the area, and that
    13           Q Okay.                                             13   was it.
    14           A At Little Flower. I went to church and            14        Q Was Mr. Bober with him?
    15    I says I don't know where this office was, so --           IS         A No, sir.
    16           Q I'm sorry, where Is Little Flower?                16        Q Was anyone with him?
    17           A Little Flower, the church on Federal              17         A No, sir.
    18    and - not too far from here.                               18        Q So it was just you and Mitchell                           !

    19           Q Okay.                                             19   Rosario-
    20           A Because parking is real tight and                 20         A Yes.
    21    whatever, so that's -- I parked -- Because I go to         21        Q -- getting together at Big Daddy's to --
    22    church there 7:00 in the morning or 8:30 mass, you         22         A Yeah . There was a game going on, the
    23    will see me there every day --                             23   Miami Heat game.
    24           Q Okay. So what time today did he pick              24        Q Okay.                                                 II
    25    you up?                                                    25         A I was in the area, 135th and Biscayne.

                                                         Page 131                                                     Page 133
     1            A He picked me up, what was it, 1 :30.              1          Q      Do you know where Mitchell Rosario
     2            Q Mass is what, like an hour?                       2   lives?                                                           :


     3            A No, 1 :30. I came, you know, I was in             3          A Somewhere in Miami.
     4     the Hollywood area and I said, you know, meet me at        4          Q But Miami is a big county, do you know
     5     the Little Flower Church because I don't know where        5   where?
     6     this direction is because I couldn't - the secretary       6          A I don't know, somewhere near that club
     7     was saying 18th and there's no parking.                    7   down in ...
     8           Q Okay. So he picked you up and he                   8          Q Down near Stir Crazy?
     9     brought you here?                                          9          A Stir Crazy.
    10           A Yes, sir.                                         10          Q Okay. So he drove all the way from
    11           Q All right. And when this is over, he is           11   south Dade all the way to Northeast 135th Street to      I
    12    going to drive you home?                                   12   the Big Daddy's to meet you?                                 I

    13           A No, no , drive me right to Little Flower          13         A I have no idea, like I said.
    14     Church.                                                   14         Q Okay.
    15           Q Okay.                                             15         A He said he was in the Hollywood area and
    16           A You will see my van over there now.               16   I, you know, I was going to get something to eat and I
    17           Q All right. So you brought your van over           17   said, "Let's go get something to eat," that's all.
    18    to Little Flower Church, parked it there, and then he      18         Q He says, "I will pop over and see you"?
    19    picked you up to take you the rest of the way?             19         A I presume , you know, like I said.
    20           A Yeah, because alii know, the lady said            20         Q Okay.
                                                                                                                                       i
    21    it's walking distance and, you know, park and pay and      21         A I don't get into detail or personal why
    22    I didn't know how long this deposition was going to        22   you're there, you know.
    23    be, so ...                                                 23         Q Did you talk about this case?
    24           Q All right. Prior to today, when is the            24         A No, we didn'llalk about the case.
    25    last time you saw Mitchell Rosario?                        25         Q Did you talk about Stir Crazy?
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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 15 of
                                      20


                                                                                            8 (P a ges 134 to 137)
                                                     Page 134                                                        Page 1 36
      1           A Stir Crazy, you know, the bad ones, the            1    with the . -
      2    girls that were over at Dean's Gold now, so that was    2              a ''We'' being the Chippendales?
      3    it.                                                     3              A Chippendales, yeah.
      4           a I'm sorry, what's at Dean's Gold?                  4          a Did -
      5           A Dean's Gold, some of the girls at Stir         5              A Help out on the Hard Rock Casino two
      6    Crazy were over at Dean's Gold.                         6        nights a week, Friday, Saturday.
      7           a Which is where?                                7              a You do? You work there?
      8           A 163rd Street, you know, as I mentioned         8              A Yes, sir.
      9    before.                                                 9              a What do you do?
     10           a How do you know that?                         10              A I'm loss prevention.
    11            A What's that?                                  11              a Okay.
    12            a How do you know the girls are at Dean's       12              A One of the heads supervising security
    13    Gold?                                                   13       over there, Pangaea, Gryphon.
    14            A Because I was in there and I said I seen      14              a You're what now?
    15    some of the girls and they're not the good ones, you    15              A Pangaea, Gryphon, one of the head of th.e
    16    know, not the great ones.                               16       supervisors of the security for John Sturgis, one of
    17           a Okay.                                          17       the lawyers over there that owns the club. I'm like
    18            A You know.                                     18       the - Pangaea, they're opening one on South Beach --
    19           a And so that's something you and he             19              a Okay.
    20    talked about?                                           20              A Which is called - the guy that invented
    21            A Not in depth, you know. The football,         21       the W, he put 200 million into this hotel and .-
    22    the basketball, we were watching the basketball game    22             a You're the head of security at the-
    23    and had some food.                                      23              A One of the supervisors.
    24           a Did he tell you that he was involved in        24             a Okay. Supervisors of security?
    25    a lawsuit?                                              25              A Yes.

                                                     Page 13 5                                                      Page 13 7
     1          A No. He said just come and teli the               1            a     Okay,
     2    truth here today, that's it.                             2            A     Assistant supervisor to Scott.
     3          a No. But when you saw him at Big Daddy's          3              a Okay. Who is Scott?
     4    on Northeast 135th -                                     4              A Scott is the supervisor.
     5          A I didn't -- I don't know anything                5              a Of security?
     6    ~out-                                                    6              A Yes. Sammy is the owner of the company.
     7         a     Let me ask the question first -               7              a And this is at the Hard Rock Cafe?
     8         A     Okay.                                         8              A Hard Rock Casino.
     9           a -- just so she can take it down --              9              a The Hard Rock Casino?
    10            A Yeah.                                         10              A Yes, sir, in Hollywood.
    11           a -- because it's hard what she does.            11              a Have you ever met Mr. Bober before
    12            A Yeah.                                         12       today?
    13           a When you saw him at the Big Daddy's on         13             A No, sir.
    14    Northeast 135th Street a few weeks ago, was that the    14              a This is the first time?
    15    first time you saw him or had you seen him -            15             A No, as in fi rst time ever.
    16           A No, that was it.                               16              a Have you ever had a phone call with him?
    17           a Had you seen him in the two months             17             A Yeah, a phone call.
    18    before that?                                            18             a When was that?
    19           A No. Just like I said, we talked, you           19             A Gosh, he called me saying, "Can you come
    20    know, how you doing, how's everything going.            20       to a deposition?"
    21           a And you said that - Did you teli me you        21                "No problem ."
    22    had Just got back into town?                            22             a Did you talk about what he was going to
    23           A Yeah .                                         23       ask you?
    24           a Okay. In town from where?                      24             A No. He said, ''Tell the truth." That's
    25           A We were traveling, you know, touring           25       all he said.
                                                                                             -
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       Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 16 of
                                             20


                                                                                                    9 (Pages 138 to 141)
                                                                  Page 138                                                    Page 140
                 1
                 2
                 3
                 4
                 5
                            Q The only thing he said to you was just:
                     "Tell the truth"?
                            A Yeah. I said, "No problem ." I come
                     here, Mitchell Rosario about being competent. no
                     problem .
                                                                               1
                                                                               2
                                                                               3
                                                                               4
                                                                               5
                                                                                         A
                                                                                         Q
                                                                                              Pasta Festivale, food products.
                                                                                             Okay.
                                                                                         A He has 400 restaurants.
                                                                                        Q Okay.
                                                                                         A If you Google Pasta Festivale, you will
                                                                                                                                            lw.  \Obj-
                 6
                 7
                 8
                 9
                     about?
                            Q You didn't ask him what the case was


                            A I don't care. I just, like I said,
                     Mitch brought up -- He said, "Just come tell the
                                                                               6
                                                                               7
                                                                               8
                                                                               9
                                                                                   see Aldo Alfredo that owns the whole company. His
                                                                                   father was the ten best chefs in the world. He
                                                                                   supplies the -.
                                                                                        Q Who is his father?
                                                                                                                                            Jf<
                                                                                                                                           II.

                10   truth," and that's what I'm here today, I told the       10         A Alfredo.
                11   truth.                                                   11        Q What Is his last name?
                12            Q You weren't curious, like what's the          12         A Nuchini (phonetic).
                13   lawsuit about?                                           13        Q Alfredo Luchini?
                14          A I don't care what it is. I came here            14         A Nuchini with an "N".
                15   VOluntarily, you know. Whatever my situation with        15        Q Nuchini?
                16   them is a whole different story. I don't care about      16         A Yeah.
                17   that. I did come here voluntary today. He asked me       17        Q Okay.
                18   to come here and I did. Because I knew, he was a good    18        A All the food that's supplied up in Club
                19   guy, he worked hard, you know, got a few raw deals,      19   E11 evens, the lady that did the big TV stint for
                20   you know, whatever, and you know, it's one of the guys   20   Vegas, he supplies all that food there.
                21   that, you know, that's straight up.                      21        Q Alfredo Nuchinl Is one of the ten best
                22          Q Okay. So two weeks ago was the first            22   chefs in the world?
                23   time you had seen him in how long?                       23        A His father.
                24         A Oh, gosh, since the club.                        24        Q The father's name is Alfredo Nuchini?
                25         Q Okay.                                            25         A   Alfredo, yeah.

                                                                 Page 139                                                    Page 141
                 1          A I don't have time, you know. I book--            I         Q What publication says he is one of the
                 2   I am at church 7:00 a.m., you can come there and see      2   ten best chefs?
                 3   my van there at 7:00 a.m. and I'm gone until three,       3         A It's all the restaurants. If I had my
                 4   four, five in the morning, out promoting , looking for    4   other phone that just got stolen yesterday, I would
                 5   clubs. We're going to do . -                              5   show you everything about Pasta Festivale.
      r          6          Q After church, what happens? What is              6
                                                                               7
                                                                                        Q Okay. And-


p\r. I
                 7   your day like?                                                      A Yeah.
                 8        A I get on th e phone, I start booking. I            8        Q And are you working for the father or

obj'- \   \
                 9
                10
                     meet club owners.
                             We're also involved in wine, which is
                                                                               9
                                                                              10
                                                                                   are you working for the son?
                                                                                        A For the son.
                                                                                                                                           i:
'R) l           11
                12
                     Pasta Festivale up in - my fri end Aldo has world
                     famous alfredos and we're booking for --
                                                                              11
                                                                              12
                                                                                        Q What is the same of the son's business?
                                                                                        A Pasta Festivale.
(6't\~-o\0'1\   13        Q Where is this?                                    13        Q And that's a restaurant?

oc:.. i~)~      14        A Forty-fifth , right up the street from            14
                                                                              15
                                                                                        A It's pasta. You know, you go there, you
                                                                                   come do the wine and see who is interested in putting
                15   Rachel's.
                16        Q I don't know where Rachel's is. Where             16   it on a list.
                17   is Rachel's?                                             17          Q And that's, you said, at 45th Street in
                18        A Rachel's is on 45th in West Palm Beach.           18   West Palm Beach?
                19        Q Oh, okay.                                         19          A Yes, sir.
                20        A Yeah.                                             20         Q Okay. And do you that in addition to
                21        Q West Palm Beach off of 1-95 and 45th              21   your work with Chippendales?
                22   Street?                                                  22         A Yeah. I help him out with , you know,
                23        A Yeah. And he has this --                          23   wine sales and so forth .

         .[     24
                25
                          Q Okay. So you're doing what, promoting
                     pasta?
                                                                              24
                                                                              25
                                                                                         Q Let's go back to your resume, because I
                                                                                   want to keep going through it.
                                  ----_.
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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 17 of
                                      20


                                                                                                10 (Pages 142 to 14 5 )
                                                          Pag e 142                                                           Page 144
      1         A    Yes, sir.                                          1         A      No, no, the show. The entertainment
      2         Q    In the 1990s, I think we're up to like             2    show.
      3   1991 , tell me what you did in the '90s, what was your        3         Q     Okay.
      4   work?                                                         4         A     Yeah. I will be an owner --
      5         A    I got my resume, I got it all on there,            5         Q When you talk about -
      6   you know.                                                     6         A Iwill--
      7       Q I know, but just tell me as best you can                7         Q     When you talk about putting together a
      8   remember.                                                     8   show, are you talking about the Chippendale dancers?
      9         A    I was doing the Chippendales, you know.            9        A About the actual choreographed show,
    10    Like I said, my phone, I wou ld show you every video,        10   male, female, midgets, whatever you want, we will
    11    every video all over the country. We sell out clubs,         11   embarrass them on national TV, not talk, we go to the
    12    I've been on every TV station , you know --                  12   stage. Call us the Jenners. When it's done, we'te
    13          Q    Okay.                                             13   the best.
    14          A    .- commercial.                                    14        Q      Okay. My question was about adult
    15          Q    What adult entertainment clubs have you           15   entertainment clubs that you've -
    16    w orked for?                                                 16         A     Yeah. Clubs I haven't -
    17          A    I have worked for Porky's one time. I             17        Q      - worked - Let me ask -
    18    worked for Michael Peters, Solid Gold, Pure Platinum.        18         A     Yeah.
    19         Q     You mentioned that earlier.                       19        Q      That you have worked for. Not that you
    20          A    Yes.                                              20   have gone and done and helped and put a show on -
    21         Q     You said that was just sort of an off             21        A      Yes.
    22    and on thing, not -                                          22        Q      - but that you actually worked for.
    23         A That's what I do all -- You know,                     23             You mentioned that you worked off and on
    24    whenever I don't have time, because the road is my           24   for Michael Peters -
    25    thing . We'll come.here, we'll put them on any stage         25        A Yes.

                                                         Page 143                                                             Pa ge 1 45
      1   and we'll blow them out of the water because there           1         Q      -- and you said something about Porky's.
      2   ain't nobody that stands with us on any entertainment        2    Is that an adult entertainment club?
     3    stage. I'll put a hundred thousand dollars against           3          A     Yeah , adult entertainment club. I
      4   anybody that says so, let them put all their clubs            4   worked --
     5    together and we'll embarrass the m.                          5         Q      Where Is that?
     6          Q    In what respect, in terms of -                    6          A     Down in Hialeah.
     7         A Dance off, entertainment, class,                      7         Q      Okay.
     8    elegance, sophistication , compensating people like          8         A      It wasn't my cup of tea.
     9    they should be, paying , not treating them like slaves.      9         Q      Okay.
    10    That's when they do.                                        10         A      It's a low end club and just not my .- I
    11          Q Okay. So you're talking about adult                 11    worked for Tootsie's, produced them 13 million dollars
    12    entertainment clubs?                                        12    for Richard Stanton.                                            -
    13         A     Adult entertainment clubs.                       13          Q You made Tootsle's 13 million dollars?
    14         Q     Okay. So you have a lot of experience            14         A       Oh, yeah . Lap dances, oh, yeah.
    15    in this?                                                    15         Q      I'm not sure I understand that. Explain
    16         A     A hundred perce nt.                              16    that to me.
    17         Q     Okay.                                            17          A The $5.00 dance. You go in and do a
    18          A I was a dancer, I was also an                       18    $20.00 dance, the house keeps five , correct?
    19    entertainer, I was a manager and an owner.                  19         Q      I don't know.
    20         Q     What club did you own?                           20         A      I'm sure you've been in these clubs
    21         A What did I own? I was part owners like               21    before. You can't say you've never had a lap dance
    22    the Chippendale clu b.                                      22    before.
    23         Q No, no. You said -I thought we were                  23         Q      Tell me about how you made 13 million              II
    24    talking about adult entertainment clubs. What club          24    dollars for a club.
    25    did you own?                                                25         A When you do $8,000.00 from your own room
                             ~~-'
                                                                                                                              -
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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 18 of
                                      20


                                                                                                        11 (Pages 146 to 149)
                                                            Page 146                                                                   Page 148
         1    and then all your security guys that run the lap                1              A No, that's what happened. That's how
         2    dances, the $5.00 per dance, we did 13 million in lap           2        the structure is.
         3    dances for Richard Stanton.                                     3            Q Okay. So the bartenders arrange for the                  II
         4         Q Okay.                                                    4        dancers to do lap dances at Stir Crazy?
         5         A That's how.                                              5            A No. The entertainer goes to a customer:
         6
         7    pay-
                   Q So how Tootsie's runs their club, you                    6
                                                                              7
                                                                                       "Would you like a lap dance?" They go. But when they
                                                                                       do the rooms, that's when the bartender gets - does
                                                                                                                                                   Ii
      B             A    Every club.                                          B        the transaction of the room. But the lap dance -
      9             Q    - the customer pays the house some                   9              Q Which room are we talking about?
    10        money?                                                         10              A When they go to a private room , they
    11            A Twenty-five dollars.                                     11        charge them 75, a hundred dollars for a half hour, an           i
    12            Q For ••                                                   12        hour. That's there, the bartender does all that.                !

    13             A Stir Crazy does it, Solid Gold does it,                 13              Q Where are the private room at Stir
    14        every club charges $25.00 except Dean's Gold .                 14        Crazy?
    15             Q For what?                                               15              A The private rooms are in the back of the
    16              A    For a lap dance.                                    16       house and they're in the lap dance area, the sides
    17              Q    Okay. So tell me how Stir Crazy does                17       there.                                                      II
    IB        it.                                                            1B             Q I'm sorry, what Is the lap dance area?
    19             A Same thing. They go there, the                          19             A Where they lap dance, where they do                 Ii
                                                                                                                                                   ' I
    20       customer, hey, you want a lap dance, $25.00. Five               20       their private - they do their $25.00 dance. They have            I
    21       dollars is-                                                     21       like a seat there and they do their $25.00 whatever.
    22             Q So who do they pay the $25.00 to?                       22           Q Okay. So a dancer - Because you know
    23             A Twenty-five goes to the girl. The girl,                 23       how Stir Crazy runs, right, you know the Information?
    24       per dance, pays $5.00 to the house.                             24               MR. BOBER: Object to form.
    25            Q Okay.                                                    25               THE WITNESS: Well , like I said -

                                                           Page 1 47                                                                  Page 149
     1            A      Pays Heriberto and Manny $5.00 per                   1       BY MR. MCDONALD:                                                ,
     2       dance.                                                           2             Q You consider yourself pretty
     3              Q    Okay. Old you collect that?                          3       knowledgeable in this industry?                                 ,
     4              A    Yeah, we used to collect that.                       4             A Like I said, I don't know about the
     5              Q    All right.                                           5       private room, what they charge over there. The lap
     6           A       Not on Stir Crazy. We didn't touch that              6       dance is in between the dancer -- I have no -- Like I
     7       money.     At Tootsie's.                                         7       said, I just oversee the clUb.
     B              Q Oh, okay. I thought you were talking                    8             Q Okay. But how do you know that the
     9        about Stir Crazy.                                               9       dancer, when a dancer and a customer goes to what you
    10              A No, no. We weren't involved in any                     10       call the lap dance area, pays the bartender? How do
    11        transaction of rooms or the lap dances. That was held          11       you know that?
                                                                                                                                                  II
    12        by the bouncers there and by the bartenders. We had        12                A Because it's -- They ring it up,                     !i
    13        no involvement of any kind of transaction of the           13           whatever, in their part of their drop for the rooms or       !

    14        rooms.                                                     14           whatever and their lap dance.
    15              Q When you say, "we", who are you talking            15               Q Who rings it up, the bartender?                      I:
    16       about?                                                      16                 A The bartenders, however they ring that
    17              A Any of the managers.                               17           up, that's transferred in the final drop of the fight.
    18              Q Okay.                                              18                 Q Okay. Does a dancer go to the bartender            I'
    19              A Yeah .                                             19           and say, "I'm going to the lap dance area"?
    20              Q So the managers had no role, at all --             20                 A Yeah, they go in a room and then they go
    21              A We had a salary. We had no knowledge               21           back with the fee, whatever. Like I said, whatever         II
    22       of -- That was the bartenders and the dancers. That         22           they do for the charge, that's how they charge the
                                                                                                                                                  ,
    23       was between their transaction.                              23           customer. I don't know. I wasn't involved in that
    24              Q Do you know that for certain or do you             24           transaction, so I don't know.
    25       just think that's what happened?                            25                Q How come, If you were a manager, were
                                                                   .-   .-        -   -- .~-




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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 19 of
                                      20


                                                                                           12 (Pages 150 to 153)
                                                        Page 150                                                      Page 152
     1   you not Involved and have knowledge of this?                1           a    Did you ever manage one?
     2        A Like I said, I don't know anything about             2           A Yes.
     3   what they had charged for the room. The bartenders          3           a
                                                                                 Which one?
     4   did the whole transaction.                                  4           AI managed the Stir Crazy.
     5         Q Just so I'm clear, because I'm really               5           a
                                                                                 Okay. Other than Stir Crazy, did you
     6   not, so I'm hoping you can - a dancer would go to the       6   ever manage a club, adult entertainment club?
     7   bartender and say, I am taking customer X to the lap        7        A I have been the host, floor host,
     8   dance room?                                                 8   manager, Solid Gold North Miami.
     9        A No, to whatever their private room or                9           a
                                                                                 You were the floor host?
    10   whatever.                                                 10         A Manager, yeah , one of the floor hosts ,
    11       Q Okay. And the bartender what, says,                 11    managers.
    12   "Okay," and writes it down? What happens?                 12            a
                                                                                 At Solid Gold?
    13        A    Like I said, I don't know. Thafs                13            AYeah.
    14   between whatever the bartender - that was their           14            aWhen?
    15   responsibility. I wasn't involved and I don't know        15         A That was before it turned to Dean's
    16   that part, what they charged them, what the half hour,    16    Gold. Now there's whatever the -- I don't know who is
    17   you know.                                                 17    the owner and all that now, but it's called Dean's
    18         Q Does the customer then pay the                    18    Gold now.
    19   bartender?                                                19            aOkay. Well, I don't know when it became
    20        A The bartender. They do the who le --               20    Dean's Gold; so tell me when you worked t here.
    21        Q Okay.                                              21         A It's right after Tootsie's, 2007 to
    22        A   -- ring it up like a regular sale.               22    2008. I got it on my resume. I got to go back on
    23        Q   Okay. So at Stir Crazy, from your                23    resume.
    24   knowledge and experience and times there, the customer    24            a   You can give me rough dates. I don't        II
    25   would then go pay the bartender?                          25    need --

                                                       Page 151                                                      Page 153
     1        A   Bartender, the whole transaction.                 1            A    I don't know. Like I said --
     2         a  They didn't give the money to the girl,           2            a - if the resume says something
     3   the dancer?                                                3    different.                                              II
     4         A I don't know the whole, you know, how              4            A    I'm giving you the best of my knowledge,
     5   they transacted .                                          5    okay.
     6        a     Okay.                                           6            a
                                                                                 Okay. So 2007,2008 is the best of your
     7         A All I know is whatever they charged them           7    knowledge?
     8   for the room and the lap dances were $25.00. That's        8            ARight.
     9   what...                                                    9            aWhat other adult entertainment clubs
    10        a     Okay. Now, let's continue on other             10    have you managed in your past?
    11   adult entertainment clubs you've worked for.              11         A Managed, like I said, my road show. I
    12        A    Okay.                                           12    was too busy with my road show.
    13        a    Who else have you worked far?                   13            aOkay.
    14        A     Like I said, Solid Gold and Tootsie's.         14            A    I didn't have tim e to manage anything
    15        a     I know those. Don't--                          15    else.
    16         A Pure Platinum and Michael Peters, off             16            a    How about when you were -
    17   and on . That was the extent of me working in the         17            A    My females and my males.
    18   adult -- And Bob in Minneapolis, Minnesota.               18            a    I'm sorry, what?
    19        a     Would you say you have -                       19            A   My female touring group.
    20         A Scores, New York.                                 20            a   Okay.
    21        a --     a lot of experience in adult                21            A   Chippendolls.
    22   entertainment --                                          22            a   So you really didn't have time to work
    23        A Oh, yeah.                                          23    in management --
    24        a   -clubs?                                          24         A I had--
    25        A    Yeah.                                           25            a
                                                                                 Let me ask the question.
                            ---
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Case 1:13-cv-23429-AOR Document 111-3 Entered on FLSD Docket 10/20/2014 Page 20 of
                                      20


                                                                                               13 (Pag es 1 54 to 157)
                                                         Page 154                                                           Pag e 156

      1            A   Yeah.                                              1          A   Yeah, that's when I started training.
      2            Q   Management in a specific club -                    2          Q   Tell me about the training you went
      3            A No.                                                  3    through.
         4         Q - in your past?                                      4           A Training, Joe Putch trained me. Manny
      5            A They couldn't pay --                                 5    was the owner that wanted me trained a certain way and
      6               MR. BOBER: Object to form.                          6    whatever - however he wanted it. Heard you're making
      7               THE WITNESS: They couldn't pay me                   7    wonderful things and -- I got it in a text message
      8            enough.                                                8    here, everything he told me.
      9      BY MR. MCDONALD:                                             9           Q Okay. Now, you said you met Manny while
     10            Q Okay.                                            10       you were working, he carne in -
     11            A I'm expensive. I'm $2500.00 a week and           11              A Yeah, he came in, sat down on a Friday.
     12      I'm 2,000 for promotion. You got to pay me $4500.00 a    12              Q So you had already been hired?
     13      week ·-                                                  13              A Yeah. I was -- Yeah, hired, and they
     14            Q Okay.                                            14       called me. Is the owner there? Yeah, he was Sitting
     15            A .- for all that nonsense.                        15       right, you know, he's sitting in the DJ booth, he's
     16              I did it as a favor, gave them a deal            16       sitting in the middle of the floor.
     17      and-a-half and they were supposed to come up and pay     17             Q So you were hired to breathe life back
     18      me accordingly and they never did.                      18        Into this club, right?
     19          Q Are you talking about Stir Crazy?                 19             A  A hundred percent. I got thanked -
     20           A Yes.                                             20               MR. BOBER: Object to form.
     21          Q Okay.                                             21               THE WITNESS: -- by Oscar and everything
     22            A I'm not going to get into that because          22            else and, you know, thank you , Manny has a
     23      we're here concerning this.                             23           club again and dah , dah, dah, and that was --
     24           Q Well, it might be relevant because it            24       BY MR. MCDONALD:
     25      goes-                                                   25           Q Okay.

                                                        Page 15 5                                                          Page 157

     1            A No, we're not getting into that part              1              A -- you know, I was there --
     2       because --                                               2              Q But you were hired, but you never met
     3            Q     I need t o know -                             3       Manny, who you think Is the owner, right?                 II
     4             A -- if I do, I will go into another               4               MR. BOBER: Object to form.
     5        lawsuit and I will see you again .                      5       BY MR. MCDONALD:
     6             Q Okay.                                            6            Q You never interviewed with him, never
     7             A We're talking about this right now.              7       met him In person?
     8             Q Yeah-                                            8                 MR. BOBER : Object to form.
     9             A Okay.                                            9                 THE WITNESS: Never met him, never
    10             Q - but it Is relevant.                           10             interviewed with him. Right there, this is
    11                 When did your relat ionship with Stir         11             the owner, that's what I was stated, you
    12       Crazy end?                                              12             know, that's what I understood.
    13             A The 20 .- As soon as Rolando called me,         13       BY MR. MCDONALD:
    14       it wouldn't be able to work out as far as the money     14             Q All right. Did you introduce yourself
    15       wise, wouldn't be able to afford to pay you, okay.      15       or did somebody just point him out?
    16             Q And how long did you work there, then?          16             A No, I went over by him. I knew the
    17             A The dates were the -- What were the             17       Sister-in-law, the one - the wife's sister, I guess
    18       dates? I just -- We went over --                        18       that's what you call her, Minnie, Minnie, Whatever,
    19            Q   You said something about August, I             19       that worked there at the time, and then when they
    20       believe.
    21             A August to the 21 st --
                                                                     20
                                                                     21
                                                                              split, she got fired. That was the next step.
                                                                                     Q Okay. One of the problems that you
                                                                                                                                        II
    22            Q You started --                                   22       identified at Stir Crazy right away was that - I think
    23             A The 21 st of January.                           23       you said that they needed to take the club back?
    24            Q Okay. But said you started training In           24                MR. BOBER : Object to form.
    25       August?                                                 25       BY MR. MCDONALD:
                                                                                                              -              ~




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